      Case 1:21-cv-11205-FDS         Document 182       Filed 01/06/25     Page 1 of 16




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

---------------------------------x
-
SPARTA    INSURANCE COMPANY                   :
(as successor in interest to Sparta Insurance
Holdings, Inc.),                              :

                      Plaintiff,               :    Civil Action
                                                    No. 21-11205-FDS
       v.                                      :
                                                    REDACTED PUBLIC VERSION
PENNSYLVANIA GENERAL INSURANCE :                    AS OF JANUARY 6, 2025
COMPANY (now known as Pennsylvania
Insurance Company),                :

               Defendant.        :
---------------------------------x
-
                          DECLARATION OF
           CHRISTOPHER G. CLARK IN SUPPORT OF PLAINTIFF
   SPARTA INSURANCE COMPANY'S MOTION FOR SUMMARY JUDGMENT

              I, CHRISTOPHER G. CLARK, pursuant to 28 U.S.C. § 1746, hereby declare as

follows:

              1.      I am a member of the Bar of the Commonwealth of Massachusetts,

admitted to practice before this Court, and am a member of the law firm Skadden, Arps, Slate,

Meagher & Flom LLP, counsel for Plaintiff SPARTA Insurance Company ("SPARTA") in the

above-captioned action.

              2.      I respectfully submit this declaration in support of SPARTA's Motion For

Summary Judgment filed herewith, and to provide the Court true and correct copies of the

following documents.1


1
         SPARTA has submitted excerpts of certain documents and omitted attachments to others
to minimize the volume of pages submitted. SPARTA has indicated in the document description
where documents have been excerpted or attachments have been omitted. SPARTA will submit
the full version of any document or attachment upon request of the Court.
           Case 1:21-cv-11205-FDS      Document 182      Filed 01/06/25      Page 2 of 16




                  3.     The 2005 Transfer And Assumption Agreement And The 2007 Stock

Purchase Agreement That SPARTA And PGIC Are Parties To. Exhibit Nos. 1-7 are

contracts that SPARTA and defendant Pennsylvania General Insurance Company ("PGIC") are

parties to and documents related to those contracts. SPARTA respectfully submits that the plain

language of these documents allow the Court to grant summary judgment to SPARTA on the

first two counts of SPARTA's Complaint, which seek a declaration that PGIC is liable to

SPARTA under (i) the Instrument of Transfer and Assumption between PGIC and American

Employers' Insurance Company ("AEIC"), dated June 15, 2005 (the "2005 T&A"), and (ii) the

Stock Purchase Agreement by and between PGIC, OneBeacon Insurance Company ("OBIC"),

and SPARTA Insurance Holdings, Inc. ("SPARTA Holdings"), dated March 12, 2007 (the "2007

SPA").

    Exhibit                             Document                                Short Cite
              Instrument of Transfer and Assumption between PGIC and
      1.                                                                     2005 T&A
              AEIC, dated June 15, 2005 (SPARTA-00000001) (PGIC Ex. 1)2
              Stock Purchase Agreement by and between PGIC, OBIC, and
      2.      SPARTA Holdings, dated March 12, 2007 (PGIC_0004097)           2007 SPA
              (PGIC Ex. 2)
              Excerpt of Closing Materials for the 2007 SPA reflecting the
      3.                                                                     Cross-Receipt
              Cross-Receipt dated August 9, 2007 (SPARTA-00079681)
              Amendment No. 1 to the 2007 SPA, signed by SPARTA
                                                                             2007 SPA
      4.      Holdings, PGIC, and OBIC, dated March 27, 2007
                                                                             Amendment No. 1
              (PGIC_0004196) (PGIC Ex. 3)
              Amendment No. 2 to the 2007 SPA, signed by SPARTA
                                                                             2007 SPA
      5.      Holdings, PGIC, and OBIC, dated July 30, 2007 (SPARTA-
                                                                             Amendment No. 2
              00000176) (PGIC Ex. 4)

2
       Documents with the notation "PGIC Ex. __" are exhibits that were marked during the
deposition of PGIC's Rule 30(b)(6) corporate representative on October 25-26, 2023, December
5, 2023, and December 13, 2023, and include an exhibit sticker reflecting the same. Documents
with the notation "Weiner Ex. __" or "SPARTA Ex. __" are exhibits that were marked during the
deposition of SPARTA's Rule 30(b)(6) corporate representatives and the depositions of those
individuals in their individual capacities taken on May 23, 2023 and November 15-16, 2023, and
include an exhibit sticker reflecting the same.


                                                2
        Case 1:21-cv-11205-FDS       Document 182        Filed 01/06/25     Page 3 of 16




Exhibit                              Document                                   Short Cite
           Letter Agreement to the 2007 SPA, signed by SPARTA
                                                                            Letter Agreement
   6.      Holdings, PGIC, and OBIC, dated August 9, 2007 (Intact-
                                                                            No. 1
           SPARTA-PIC-00952)
           Letter Agreement to the 2007 SPA, signed by SPARTA
                                                                            Letter Agreement
   7.      Holdings, PGIC, and OBIC, dated February 8, 2008 (SPARTA-
                                                                            No. 2
           00005206)

              4.      The 2012 Transactions That SPARTA Is Not A Party To. Exhibit Nos.

8-14 are contracts and documents related to the 2012 transactions that SPARTA is not a party to.

SPARTA is not a signatory to any of these contracts. PGIC nonetheless relies on these contracts

as a defense to PGIC's obligations under the 2005 T&A and the 2007 SPA.

Exhibit                                Document                                 Short Cite
           October 1, 2012 Transfer and Assumption Agreement Between
   8.      OneBeacon Insurance Company and PGIC, dated October 1,           2012 T&A
           2012 (PGIC_0005137) (PGIC Ex. 5)
           Stock Purchase Agreement Between OneBeacon Insurance
           Group LLC ("OBIG") and North American Casualty Company
   9.                                                                       2012 SPA
           ("NAC"), dated June 8, 2012 (PGIC_0016032) (PGIC Ex. 6)
           (filed under seal)
           Disclosure Schedule to the June 8, 2012 Stock Purchase
                                                                            2012 Disclosure
   10.     Agreement Between OneBeacon Insurance Group LLC and
                                                                            Schedule
           NAC (PGIC_0016083) (PGIC Ex. 7) (filed under seal)
           October 4, 2011 letter from Jeffrey Silver (as NAC general
                                                                            Letter of Intent
   11.     counsel) to David Dembo (OBIG) regarding NAC's acquisition
                                                                            and NDA
           of PGIC (Intact-SPARTA-PIC-0003605)
           November 11, 2011 Email Chain between Jeffrey Silver (as
                                                                            November 11,
   12.     NAC and PGIC general counsel) and David Dembo (OBIG)
                                                                            2011 Email
           regarding PGIC's liabilities (PGIC_0042586)
           April 9, 2012 Email Chain among PGIC and OBIG individuals
                                                                            April 9, 2012
   13.     regarding PGIC's liabilities (BEDIVERE_002408) (PGIC Ex.
                                                                            Email Chain
           58)
           Services Agreement by and between OneBeacon Insurance
           Company, Potomac Insurance Company, OneBeacon American
                                                                            OBIC-AGRM
   14.     Insurance Company, the Employers' Fire Insurance Company,
                                                                            Agreement
           and Armour Risk Services (Bermuda) Limited, dated December
           23, 2014 (BEDIVERE_000109) (PGIC Ex. 97)




                                               3
      Case 1:21-cv-11205-FDS         Document 182        Filed 01/06/25     Page 4 of 16




              5.      Deposition Transcripts. Exhibit Nos. 15-17 are excerpts of the

transcripts of the depositions of (i) SPARTA's Rule 30(b)(6) corporate designee Ronald Harrell;

(ii) PGIC's Rule 30(b)(6) corporate designee; and (iii) Steven Menzies, who signed the 2012

SPA on behalf of NAC and is an officer and director of PGIC.

Exhibit                                Document                                 Short Cite
          Excerpts from the Transcript of PGIC's Rule 30(b)(6)
          Deposition by Jeffrey Silver, dated October 25-26, 2023;
   15.                                                                      PGIC Dep.
          December 5, 2023; December 13, 2023 (filed partially under
          seal)
          Excerpts from the Transcript of SPARTA's Rule 30(b)(6)
   16.    Deposition by Ronald Harrell, dated November 15-16, 2023          SPARTA Dep.
          (filed partially under seal)
          Excerpts from the Transcript of Steven M. Menzies, dated
   17.                                                                      Menzies Dep.
          March 27, 2024

              6.      Regulatory Documents and Financial Records. Exhibit Nos. 18-23 are

regulatory documents related to the 2007 sale of AEIC to SPARTA Holdings Insurance

Company and certain financial statements.

Exhibit                             Document                                    Short Cite
          SPARTA's Name Change Application, dated October 25, 2007          Name Change
   18.
          (SPARTA-00080354)                                                 Application
          Massachusetts Division of Insurance's Report of the Statutory     Massachusetts
          Examination of the American Employers' Insurance Company          Regulator Report
   19.
          as of December 31, 2006, dated May 5, 2008 (SPARTA-               of Examination of
          00025338) (PGIC Ex. 156) (Weiner Ex. 11)                          AEIC
          Excerpt of PGIC's 2004 Annual Statement (PGIC_0019631)            PGIC 2004
   20.
          (PGIC Ex. 23)                                                     Annual Statement
          Excerpt of PGIC's 2005 Annual Statement (PGIC_0019410)            PGIC 2005
   21.
          (PGIC Ex. 24)                                                     Annual Statement
          Excerpt of PGIC's 2006 Annual Statement (PGIC_0011766)            PGIC 2006
   22.
          (PGIC Ex. 25)                                                     Annual Statement
          Excerpt of PGIC's 2007 Annual Statement (PGIC_0011611)            PGIC 2007
   23.
          (PGIC Ex. 26)                                                     Annual Statement




                                               4
      Case 1:21-cv-11205-FDS         Document 182       Filed 01/06/25    Page 5 of 16




              7.     Documents Related to the 2012 Bedivere (Formerly OBIC)

Liquidation. Exhibit Nos. 24-38 are documents related to the liquidation of Bedivere Insurance

Company (the "Bedivere Liquidation").

Exhibit                              Document                                  Short Cite
          March 26-31, 2021 Email Chain between Keith Kaplan
          (Bedivere Liquidator) and Robert Stafford (Applied               March 31, 2021
   24.
          Underwriters) regarding PGIC's liability for claims following    Email
          the Bedivere Liquidation (PGIC_0007313) (PGIC Ex. 70)
          April 5, 2021 Email Chain among SPARTA individuals and
                                                                           April 5, 2021
   25.    Madeleine Bass (A.G. Risk Management, Inc. ("AGRM"))
                                                                           Email Chain
          regarding the Bedivere Liquidation (SPARTA-00048017)
          April 19-26, 2021 Email Chain between Graham Loxley
                                                                           April 2021 Email
   26.    (AGRM) and Jeffrey Silver (PGIC) regarding AEIC Claims
                                                                           Chain
          (PGIC_0015774) (PGIC Ex. 100) (filed under seal)
          May 5, 2021 Email from Keith Kaplan (Bedivere Liquidator) to
                                                                           May 5, 2021
   27.    Stephen Eisenmann (SPARTA) regarding AEIC Claims
                                                                           Email
          (SPARTA-00089079) (attachments omitted) (SPARTA Ex. 124)
          May 12-18, 2021 Email Chain among Keith Kaplan (Bedivere
          Liquidator), Dennis Haag (Chief of the Pennsylvania Insurance
                                                                           May 2021 Email
   28.    Department), and Jeffrey Silver (PGIC) regarding PGIC's
                                                                           Chain
          liability for AEIC Claims (PGIC_0007563) (PGIC Ex. 71) (filed
          under seal)
          May 26-June 1, 2021 Email Chain among Keith Kaplan
          (Bedivere Liquidator), Stephen Eisenmann (SPARTA), and           June 1, 2021
   29.
          AGRM individuals regarding AEIC Claims (SPARTA-                  Email
          00040393) (attachment omitted)
          May 26-July 23, 2021 Email Chain between Graham Loxley
          (AGRM) and Jeffrey Silver (PGIC) attaching the Services          PGIC-AGRM
   30.
          Agreement between AGRM and PGIC effective as of August 1,        Agreement
          2021 (PGIC_0008130) (PGIC Ex. 96) (filed under seal)
          August 11, 2021 Email from Bryan Enos (AGRM) and Jeffrey
                                                                           August 11, 2021
   31.    Silver (PGIC) regarding claims paid by AGRM on PGIC's
                                                                           Email
          behalf (PGIC_0008081) (PGIC Ex. 112) (filed under seal)
          August 26-27, 2021 Email Chain between Keith Kaplan
          (Bedivere Liquidator) and Jeffrey Silver (PGIC) regarding        August 26-27,
   32.
          PGIC's liability for AEIC Claims (PGIC_0007721) (PGIC Ex.        2021 Email Chain
          114) (filed under seal)




                                              5
      Case 1:21-cv-11205-FDS           Document 182        Filed 01/06/25        Page 6 of 16




 Exhibit                              Document                                      Short Cite
           August 27-30, 2021 Email Chain among Ronald Harrell
           (SPARTA) and AGRM individuals regarding SPARTA                        August 27-30,
    33.
           contracting with AGRM for claims handling services                    2021 Email Chain
           (SPARTA-0020229)
           Services Agreement between A.G. Risk Management, Inc. and
                                                                                 SPARTA-AGRM
    34.    SPARTA Insurance Company, effective October 1, 2021
                                                                                 Agreement
           (SPARTA-00032986) (PGIC Ex. 115) (filed under seal)
           PGIC's Notice of Non-Party Subpoena to A.G. Risk
    35.                                                                          AGRM Subpoena
           Management, dated December 20, 2022 (exhibits omitted)
           October 20, 2023 Letter from Samuel Kaplan (counsel for
           PGIC) to Christopher G. Clark (counsel for SPARTA) regarding          October 20, 2023
    36.
           PGIC's assertion of categorical defenses to liability (counsel for    Letter
           SPARTA (PGIC Ex. 150)
           July 17, 2024 Letter from Samuel Kaplan (counsel for PGIC) to
           Christopher G. Clark (counsel for SPARTA) regarding PGIC's            July 17, 2024
    37.
           assumption of the defense of two AEIC claims (filed partially         Letter
           under seal)
           December 19, 2024 Letter from Samuel Kaplan (counsel for
                                                                                 December 19,
    38.    PGIC) to Christopher G. Clark (counsel for SPARTA),
                                                                                 2024 Letter
           regarding PGIC's defenses to liability (filed partially under seal)

               8.      Written Discovery Responses. Exhibit Nos. 39-42 are certain of the

Parties' written discovery responses. Discovery began in August 2022 and lasted more than two

years. During discovery, the Parties and non-parties produced more than 22,000 documents.

Additionally, the Parties (i) issued 37 third-party subpoenas, (ii) exchanged and responded to 57

interrogatories and 55 requests for admission, (iii) took 11 days of depositions, (iv) briefed two

motions to compel, and (v) exchanged expert reports.

 Exhibit                            Document                                         Short Cite
           Defendant Pennsylvania General Insurance Company's                    PGIC's Responses
    39.    Responses and Objections to SPARTA's First Set of Requests            and Objections to
           for Admission, dated November 28, 2022                                SPARTA RFAs
                                                                                 SPARTA's
           Plaintiff SPARTA Insurance Company's Supplemental                     Supplemental
    40.    Responses and Objections to PGIC's Interrogatories Nos. 5 and         R&Os to PGIC
           6, dated May 12, 2023                                                 Interrogatory Nos.
                                                                                 5 and 6



                                                 6
      Case 1:21-cv-11205-FDS        Document 182       Filed 01/06/25     Page 7 of 16




Exhibit                             Document                                  Short Cite
                                                                          SPARTA's
          Plaintiff SPARTA Insurance Company's Supplemental
                                                                          Supplemental
          Responses and Objections to Defendant Pennsylvania General
   41.                                                                    R&Os to PGIC
          Insurance Company's Interrogatories Nos. 30 and 31, dated
                                                                          Interrogatory Nos.
          January 8, 2024 (filed partially under seal)
                                                                          30 and 31
                                                                          PGIC's
          Defendant Pennsylvania Insurance Company's Supplemental
                                                                          Supplemental
          Objections and Responses to Plaintiff SPARTA Insurance
   42.                                                                    Objections and
          Company's Requests For Admission Nos. 1-9 & 23-25, dated
                                                                          Responses to
          January 8, 2024
                                                                          SPARTA RFAs

              9.     SPARTA's Section 8.1 Indemnification Notices Delivered To PGIC.

Exhibit Nos. 43-91 are notices that SPARTA sent to PGIC pursuant to Section 8.1 of the 2007

SPA that identify claims with respect to which SPARTA seeks indemnification. These

documents are relevant only to SPARTA's claims that (i) PGIC breached the 2007 SPA by

failing to indemnify SPARTA for losses that SPARTA incurred related to claims made with

respect to policies issued by AEIC before SPARTA purchased AEIC from PGIC and (ii) PGIC

breached the 2005 T&A by failing to administer and pay for those same claims.

Exhibit                              Document                                   Short Cite
          SPARTA's May 28, 2021 Notice sent to PGIC pursuant to
                                                                          May 28, 2021
   43.    Section 8.1 of the 2007 SPA (SPARTA-00089124) (PGIC Ex.
                                                                          Notice
          116)
          SPARTA's June 23, 2021 Notice (1 of 4) sent to PGIC pursuant
                                                                          June 23, 2021
   44.    to Section 8.1 of the 2007 SPA (SPARTA-00092356) (PGIC
                                                                          Notice (1 of 4)
          Ex. 118) (attachments omitted)
          SPARTA's June 23, 2021 Notice (2 of 4) sent to PGIC pursuant
                                                                          June 23, 2021
   45.    to Section 8.1 of the 2007 SPA (SPARTA-00092498) (PGIC
                                                                          Notice (2 of 4)
          Ex. 119) (attachments omitted)
          SPARTA's June 23, 2021 Notice (3 of 4) sent to PGIC pursuant
                                                                          June 23, 2021
   46.    to Section 8.1 of the 2007 SPA (SPARTA-00092170) (PGIC
                                                                          Notice (3 of 4)
          Ex. 120) (attachments omitted)
          SPARTA's June 23, 2021 Notice (4 of 4) sent to PGIC pursuant
                                                                          June 23, 2021
   47.    to Section 8.1 of the 2007 SPA (SPARTA-00089483) (PGIC
                                                                          Notice (4 of 4)
          Ex. 121) (attachments omitted)




                                              7
    Case 1:21-cv-11205-FDS         Document 182      Filed 01/06/25     Page 8 of 16




Exhibit                               Document                             Short Cite
          SPARTA's June 25, 2021 Notice sent to PGIC pursuant to
                                                                        June 25, 2021
  48.     Section 8.1 of the 2007 SPA (SPARTA-00089815) (filed
                                                                        Notice
          partially under seal)
          SPARTA's July 26, 2021 Notice sent to PGIC pursuant to
                                                                        July 26, 2021
  49.     Section 8.1 of the 2007 SPA (SPARTA-00089979) (PGIC Ex.
                                                                        Notice
          127)
          SPARTA's July 29, 2021 Notice sent to PGIC pursuant to
                                                                        July 29, 2021
  50.     Section 8.1 of the 2007 SPA (SPARTA-00069964) (PGIC Ex.
                                                                        Notice
          128) (attachments omitted)
          SPARTA's August 5, 2021 Notice sent to PGIC pursuant to
                                                                        August 5, 2021
  51.     Section 8.1 of the 2007 SPA (SPARTA-00090111) (enclosures
                                                                        Notice
          omitted)
          SPARTA's August 16, 2021 Section 8.1 Notice sent to PGIC
                                                                        August 16, 2021
  52.     pursuant to Section 8.1 of the 2007 SPA (SPARTA-00030214)
                                                                        Notice
          (PGIC Ex. 130) (attachments omitted)
          SPARTA's August 20, 2021 Notice sent to PGIC pursuant to
                                                                        August 20, 2021
  53.     Section 8.1 of the 2007 SPA (SPARTA-00070045) (PGIC Ex.
                                                                        Notice
          131) (attachment omitted)
          SPARTA's September 27, 2021 Notice sent to PGIC pursuant to
                                                                        September 27,
  54.     Section 8.1 of the 2007 SPA (SPARTA-00090116) (PGIC Ex.
                                                                        2021 Notice
          164)
          SPARTA's November 5, 2021 Notice sent to PGIC pursuant to     November 5, 2021
  55.
          Section 8.1 of the 2007 SPA (BEDIVERE_002602)                 Notice
          SPARTA's April 29, 2022 Notice sent to PGIC pursuant to
                                                                        April 29, 2022
  56.     Section 8.1 of the 2007 SPA (SPARTA-00090041) (PGIC Ex.
                                                                        Notice
          135) (excerpt of attachments included) (filed under seal)
          SPARTA's August 16, 2022 Notice sent to PGIC pursuant to
                                                                        August 16, 2022
  57.     Section 8.1 of the 2007 SPA (SPARTA-00091250) (PGIC Ex.
                                                                        Notice
          136) (excerpt of attachments included) (filed under seal)
          SPARTA's September 28, 2022 Notice sent to PGIC pursuant to
                                                                        September 28,
  58.     Section 8.1 of the 2007 SPA (SPARTA-00076198) (PGIC Ex.
                                                                        2022 Notice
          137) (excerpt of enclosure included) (filed under seal)
          SPARTA's October 25, 2022 Notice sent to PGIC pursuant to
                                                                        October 25, 2022
  59.     Section 8.1 of the 2007 SPA (SPARTA-00076402) (PGIC Ex.
                                                                        Notice
          138) (excerpt of enclosure included) (filed under seal)
          SPARTA's December 19, 2022 Notice sent to PGIC pursuant to
                                                                        December 19,
  60.     Section 8.1 of the 2007 SPA (SPARTA-00090122) (PGIC Ex.
                                                                        2022 Notice
          139) (excerpt of enclosure included) (filed under seal)
          SPARTA's January 17, 2023 Notice sent to PGIC pursuant to
                                                                        January 17, 2023
  61.     Section 8.1 of the 2007 SPA (SPARTA-00090125) (PGIC Ex.
                                                                        Notice
          140) (excerpt of enclosure included) (filed under seal)



                                            8
    Case 1:21-cv-11205-FDS          Document 182        Filed 01/06/25    Page 9 of 16




Exhibit                                Document                               Short Cite
          SPARTA's February 8, 2024 Notice sent to PGIC pursuant to
                                                                          February 8, 2024
  62.     Section 8.1 of the 2007 SPA (No. 1 of 13) (exhibits omitted)
                                                                          Notice (1 of 13)
          (filed partially under seal)
          SPARTA's February 8, 2024 Notice sent to PGIC pursuant to
                                                                          February 8, 2024
  63.     Section 8.1 of the 2007 SPA (No. 2 of 13) (exhibits omitted)
                                                                          Notice (2 of 13)
          (filed partially under seal)
          SPARTA's February 8, 2024 Notice sent to PGIC pursuant to
                                                                          February 8, 2024
  64.     Section 8.1 of the 2007 SPA (No. 3 of 13) (exhibits omitted)
                                                                          Notice (3 of 13)
          (filed partially under seal)
          SPARTA's February 8, 2024 Notice sent to PGIC pursuant to
                                                                          February 8, 2024
  65.     Section 8.1 of the 2007 SPA (No. 4 of 13) (exhibits omitted)
                                                                          Notice (4 of 13)
          (filed partially under seal)
          SPARTA's February 8, 2024 Notice sent to PGIC pursuant to
                                                                          February 8, 2024
  66.     Section 8.1 of the 2007 SPA (No. 5 of 13) (exhibits omitted)
                                                                          Notice (5 of 13)
          (filed partially under seal)
          SPARTA's February 8, 2024 Notice sent to PGIC pursuant to
                                                                          February 8, 2024
  67.     Section 8.1 of the 2007 SPA (No. 6 of 13) (exhibits omitted)
                                                                          Notice (6 of 13)
          (filed partially under seal)
          SPARTA's February 8, 2024 Notice sent to PGIC pursuant to
                                                                          February 8, 2024
  68.     Section 8.1 of the 2007 SPA (No. 7 of 13) (exhibits omitted)
                                                                          Notice (7 of 13)
          (filed partially under seal)
          SPARTA's February 8, 2024 Notice sent to PGIC pursuant to
                                                                          February 8, 2024
  69.     Section 8.1 of the 2007 SPA (No. 8 of 13) (exhibits omitted)
                                                                          Notice (8 of 13)
          (filed partially under seal)
          SPARTA's February 8, 2024 Notice sent to PGIC pursuant to
                                                                          February 8, 2024
  70.     Section 8.1 of the 2007 SPA (No. 9 of 13) (exhibits omitted)
                                                                          Notice (9 of 13)
          (filed partially under seal)
          SPARTA's February 8, 2024 Notice sent to PGIC pursuant to
                                                                          February 8, 2024
  71.     Section 8.1 of the 2007 SPA (No. 10 of 13) (exhibits omitted)
                                                                          Notice (10 of 13)
          (filed partially under seal)
          SPARTA's February 8, 2024 Notice sent to PGIC pursuant to
                                                                          February 8, 2024
  72.     Section 8.1 of the 2007 SPA (No. 11 of 13) (exhibits omitted)
                                                                          Notice (11 of 13)
          (filed partially under seal)
          SPARTA's February 8, 2024 Notice sent to PGIC pursuant to
                                                                          February 8, 2024
  73.     Section 8.1 of the 2007 SPA (No. 12 of 13) (exhibits omitted)
                                                                          Notice (12 of 13)
          (filed partially under seal)
          SPARTA's February 8, 2024 Notice sent to PGIC pursuant to
                                                                          February 8, 2024
  74.     Section 8.1 of the 2007 SPA (No. 13 of 13) (exhibits omitted)
                                                                          Notice (13 of 13)
          (filed partially under seal)




                                              9
    Case 1:21-cv-11205-FDS          Document 182       Filed 01/06/25    Page 10 of 16




Exhibit                                Document                              Short Cite
          SPARTA's April 8, 2024 Notice sent to PGIC pursuant to
                                                                         April 8, 2024
  75.     Section 8.1 of the 2007 SPA (No. 1 of 7) (exhibits omitted)
                                                                         Notice (1 of 7)
          (filed partially under seal)
          SPARTA's April 8, 2024 Notice sent to PGIC pursuant to
                                                                         April 8, 2024
  76.     Section 8.1 of the 2007 SPA (No. 2 of 7) (exhibits omitted)
                                                                         Notice (2 of 7)
          (filed partially under seal)
          SPARTA's April 8, 2024 Notice sent to PGIC pursuant to
                                                                         April 8, 2024
  77.     Section 8.1 of the 2007 SPA (No. 3 of 7) (exhibits omitted)
                                                                         Notice (3 of 7)
          (filed partially under seal)
          SPARTA's April 8, 2024 Notice sent to PGIC pursuant to
                                                                         April 8, 2024
  78.     Section 8.1 of the 2007 SPA (No. 4 of 7) (exhibits omitted)
                                                                         Notice (4 of 7)
          (filed partially under seal)
          SPARTA's April 8, 2024 Notice sent to PGIC pursuant to
                                                                         April 8, 2024
  79.     Section 8.1 of the 2007 SPA (No. 5 of 7) (exhibits omitted)
                                                                         Notice (5 of 7)
          (filed partially under seal)
          SPARTA's April 8, 2024 Notice sent to PGIC pursuant to
                                                                         April 8, 2024
  80.     Section 8.1 of the 2007 SPA (No. 6 of 7) (exhibits omitted)
                                                                         Notice (6 of 7)
          (filed partially under seal)
          SPARTA's April 8, 2024 Notice sent to PGIC pursuant to
                                                                         April 8, 2024
  81.     Section 8.1 of the 2007 SPA (No. 7 of 7) (exhibits omitted)
                                                                         Notice (7 of 7)
          (filed partially under seal)
          SPARTA's May 28, 2024 Notice sent to PGIC pursuant to
                                                                         May 28, 2024
  82.     Section 8.1 of the 2007 SPA (No. 1 of 10) (exhibits omitted)
                                                                         Notice (1 of 10)
          (filed partially under seal)
          SPARTA's May 28, 2024 Notice sent to PGIC pursuant to
                                                                         May 28, 2024
  83.     Section 8.1 of the 2007 SPA (No. 2 of 10) (exhibits omitted)
                                                                         Notice (2 of 10)
          (filed partially under seal)
          SPARTA's May 28, 2024 Notice sent to PGIC pursuant to
                                                                         May 28, 2024
  84.     Section 8.1 of the 2007 SPA (No. 3 of 10) (exhibits omitted)
                                                                         Notice (3 of 10)
          (filed partially under seal)
          SPARTA's May 28, 2024 Notice sent to PGIC pursuant to
                                                                         May 28, 2024
  85.     Section 8.1 of the 2007 SPA (No. 4 of 10) (exhibits omitted)
                                                                         Notice (4 of 10)
          (filed partially under seal)
          SPARTA's May 28, 2024 Notice sent to PGIC pursuant to
                                                                         May 28, 2024
  86.     Section 8.1 of the 2007 SPA (No. 5 of 10) (exhibits omitted)
                                                                         Notice (5 of 10)
          (filed partially under seal)
          SPARTA's May 28, 2024 Notice sent to PGIC pursuant to
                                                                         May 28, 2024
  87.     Section 8.1 of the 2007 SPA (No. 6 of 10) (exhibits omitted)
                                                                         Notice (6 of 10)
          (filed partially under seal)




                                              10
     Case 1:21-cv-11205-FDS          Document 182        Filed 01/06/25       Page 11 of 16




 Exhibit                                Document                                  Short Cite
           SPARTA's May 28, 2024 Notice sent to PGIC pursuant to
                                                                              May 28, 2024
   88.     Section 8.1 of the 2007 SPA (No. 7 of 10) (exhibits omitted)
                                                                              Notice (7 of 10)
           (filed partially under seal)
           SPARTA's May 28, 2024 Notice sent to PGIC pursuant to
                                                                              May 28, 2024
   89.     Section 8.1 of the 2007 SPA (No. 8 of 10) (exhibits omitted)
                                                                              Notice (8 of 10)
           (filed partially under seal)
           SPARTA's May 28, 2024 Notice sent to PGIC pursuant to
                                                                              May 28, 2024
   90.     Section 8.1 of the 2007 SPA (No. 9 of 10) (exhibits omitted)
                                                                              Notice (9 of 10)
           (filed partially under seal)
           SPARTA's May 28, 2024 Notice sent to PGIC pursuant to
                                                                              May 28, 2024
   91.     Section 8.1 of the 2007 SPA (No. 10 of 10) (exhibits omitted)
                                                                              Notice (10 of 10)
           (filed partially under seal)

               10.    SPARTA's Section 8.3 Indemnification Notices Delivered To PGIC.

Exhibit Nos. 92-135 are notices, and confirmations of delivery for those notices, that SPARTA

delivered to PGIC pursuant to Section 8.3 of the 2007 SPA, which identify the dollar amount of

losses that SPARTA incurred through the date of the notice and which include in reasonable

detail information explaining the calculation of that amount (the "Section 8.3 Notices") and

correspondence regarding the Section 8.3 Notices.

 Exhibit                             Document                                     Short Cite
           Hard copy of SPARTA's November 7, 2022 Notice sent to
           PGIC pursuant to Section 8.3 of the 2007 SPA (excerpt of           November 7, 2022
   92.
           Exhibit B included as Exhibit No. 94) (Exhibit A omitted)          Paper Notice
           (SPARTA-00121561) (filed partially under seal)
           Electronic copy of SPARTA's November 7, 2022 Notice sent to
           PGIC pursuant to Section 8.3 of the 2007 SPA (SPARTA-              November 7, 2022
   93.
           00076515) (Weiner Ex. 22) (excerpt of Exhibit B included as        Electronic Notice
           Exhibit No. 94) (Exhibit A omitted) (filed partially under seal)
                                                                              November 7, 2022
           Excerpt of Exhibit B to the November 7, 2022 Paper and
                                                                              Paper And
   94.     Electronic Notices (SPARTA-00094569) (PGIC Ex. 142) (filed
                                                                              Electronic Notices
           under seal)
                                                                              Exhibit B
                                                                              November 7, 2022
           Confirmation that the November 7, 2022 Notice was delivered
   95.                                                                        Notice Delivery
           to PGIC on November 8, 2022 (SPARTA-00090068)
                                                                              Confirmation




                                               11
    Case 1:21-cv-11205-FDS         Document 182        Filed 01/06/25      Page 12 of 16




Exhibit                              Document                                  Short Cite
          February 3, 2023 Letter from James R. Carroll (counsel for
                                                                           February 3, 2023
  96.     SPARTA) to Samuel Kaplan (counsel for PGIC) regarding
                                                                           Letter
          SPARTA's November 7, 2022 Notice (filed partially under seal)
          SPARTA's September 28, 2023 Notice sent to PGIC pursuant to
          Section 8.3 of the 2007 SPA (SPARTA-00090128) (PGIC Ex.          September 28,
  97.
          144) (excerpt of Exhibit A included as Exhibit No. 98) (filed    2023 Notice
          partially under seal)
                                                                           September 28,
          Excerpt of Exhibit A to the September 28, 2023 Notice
  98.                                                                      2023 Notice
          (SPARTA-00094575) (PGIC Ex. 145) (filed under seal)
                                                                           Exhibit A
                                                                           September 28,
          Confirmation that the September 28, 2023 Notice was delivered    2023 Notice
  99.
          to PGIC on September 29, 2023 (SPARTA-00090131)                  Delivery
                                                                           Confirmation
       SPARTA's November 6, 2023 Notice sent to PGIC pursuant to
       Section 8.3 of the 2007 SPA (SPARTA-00091837) (PGIC Ex.             November 6, 2023
  100.
       148) (excerpt of Exhibit A included as Exhibit No. 101) (filed      Notice
       partially under seal)
       Excerpt of Exhibit A to the November 6, 2023 Notice                 November 6, 2023
  101.
       (SPARTA-00091842) (PGIC Ex. 149) (filed under seal)                 Notice Exhibit A
                                                                           November 6, 2023
          Confirmation that the November 6, 2023 Notice was delivered
  102.                                                                     Notice Delivery
          to PGIC on November 7, 2023
                                                                           Confirmation
       SPARTA's December 19, 2023 Notice sent to PGIC pursuant to
       Section 8.3 of the 2007 SPA (SPARTA-00094826) (excerpt of           December 19,
  103.
       Exhibit A included as Exhibit No. 104) (filed partially under       2023 Notice
       seal)
                                                                           December 19,
          Excerpt of Exhibit A to the December 19, 2023 Notice
  104.                                                                     2023 Notice
          (SPARTA-00094825) (filed under seal)
                                                                           Exhibit A
                                                                           December 19,
          Confirmation that the December 19, 2023 Notice was delivered     2023 Notice
  105.
          to PGIC on December 20, 2023                                     Delivery
                                                                           Confirmation
       SPARTA's February 6, 2024 Notice sent to PGIC pursuant to
                                                                           February 6, 2024
  106. Section 8.3 of the 2007 SPA (excerpt of Exhibit A included as
                                                                           Notice
       Exhibit No. 107) (filed partially under seal)
       Excerpt of Exhibit A to the February 6, 2024 Notice (filed under    February 6, 2024
  107.
       seal)                                                               Notice Exhibit A
                                                                           February 6, 2024
          Confirmation that the February 6, 2024 Notice was delivered to
  108.                                                                     Notice Delivery
          PGIC on February 8, 2024
                                                                           Confirmation


                                             12
    Case 1:21-cv-11205-FDS         Document 182       Filed 01/06/25    Page 13 of 16




Exhibit                           Document                                   Short Cite
       SPARTA's February 26, 2024 Notice sent to PGIC pursuant to
                                                                         February 26, 2024
  109. Section 8.3 of the 2007 SPA (excerpt of Exhibit A included as
                                                                         Notice
       Exhibit No. 110) (filed partially under seal)
       Excerpt of Exhibit A to the February 26, 2024 Notice (filed        February 26, 2024
  110.
       under seal)                                                        Notice Exhibit A
                                                                          February 26, 2024
          Confirmation that the February 26, 2024 Notice was delivered to
  111.                                                                    Notice Delivery
          PGIC on February 29, 2024
                                                                          Confirmation
          SPARTA's March 26, 2024 Notice sent to PGIC pursuant to
                                                                          March 26, 2024
  112.    Section 8.3 of the 2007 SPA (excerpt of Exhibit A included as
                                                                          Notice
          Exhibit No. 113) (filed partially under seal)
          Excerpt of Exhibit A to the March 26, 2024 Notice (filed under March 26, 2024
  113.
          seal)                                                           Notice Exhibit A
                                                                          March 26, 2024
          Confirmation that the March 26, 2024 Notice was delivered to
  114.                                                                    Notice Delivery
          PGIC on March 28, 2024
                                                                          Confirmation
          SPARTA's April 30, 2024 Notice sent to PGIC pursuant to
                                                                          April 30, 2024
  115.    Section 8.3 of the 2007 SPA (excerpt of Exhibit A included as
                                                                          Notice
          Exhibit No. 116) (filed partially under seal)
          Excerpt of Exhibit A to the April 30, 2024 Notice (filed under  April 30, 2024
  116.
          seal)                                                           Notice Exhibit A
                                                                          April 30, 2024
          Confirmation that the April 30, 2024 Notice was delivered to
  117.                                                                    Notice Delivery
          PGIC on May 2, 2024
                                                                          Confirmation
          SPARTA's May 20, 2024 Notice sent to PGIC pursuant to
                                                                          May 20, 2024
  118.    Section 8.3 of the 2007 SPA (excerpt of Exhibit A included as
                                                                          Notice
          Exhibit No. 119) (filed partially under seal)
          Excerpt of Exhibit A to the May 20, 2024 Notice (filed under    May 20, 2024
  119.
          seal)                                                           Notice Exhibit A
                                                                          May 20, 2024
          Confirmation that the May 20, 2024 Notice was delivered to
  120.                                                                    Notice Delivery
          PGIC on May 22, 2024
                                                                          Confirmation
          SPARTA's July 23, 2024 Notice sent to PGIC pursuant to
                                                                          July 23, 2024
  121.    Section 8.3 of the 2007 SPA (excerpt of Exhibit A included as
                                                                          Notice
          Exhibit No. 122) (filed partially under seal)
          Excerpt of Exhibit A to the July 23, 2024 Notice (filed under   July 23, 2024
  122.
          seal)                                                           Notice Exhibit A
                                                                          July 23, 2024
          Confirmation that the July 23, 2024 Notice was delivered to
  123.                                                                    Notice Delivery
          PGIC on July 25, 2024
                                                                          Confirmation




                                             13
     Case 1:21-cv-11205-FDS        Document 182       Filed 01/06/25      Page 14 of 16




Exhibit                            Document                                   Short Cite
        SPARTA's August 13, 2024 Notice sent to PGIC pursuant to
                                                                          August 13, 2024
   124. Section 8.3 of the 2007 SPA (excerpt of Exhibit A included as
                                                                          Notice
        Exhibit No. 125) (filed partially under seal)
        Excerpt of Exhibit A to the August 13, 2024 Notice (filed under   August 13, 2024
   125.
        seal)                                                             Notice Exhibit A
                                                                          August 13, 2024
          Confirmation that the August 13, 2024 Notice was delivered to
   126.                                                                   Notice Delivery
          PGIC on August 15, 2024
                                                                          Confirmation
        SPARTA's September 24, 2024 Notice sent to PGIC pursuant to
                                                                         September 24,
   127. Section 8.3 of the 2007 SPA (excerpt of Exhibit A included as
                                                                         2024 Notice
        Exhibit No. 128) (filed partially under seal)
                                                                         September 24,
        Excerpt of Exhibit A to the September 24, 2024 Notice (filed
   128.                                                                  2024 Notice
        under seal)
                                                                         Exhibit A
                                                                         September 24,
        Confirmation that the September 24, 2024 Notice was delivered 2024 Notice
   129.
        to PGIC on September 26, 2024                                    Delivery
                                                                         Confirmation
        SPARTA's October 17, 2024 Notice sent to PGIC pursuant to
                                                                         October 17, 2024
   130. Section 8.3 of the 2007 SPA (excerpt of Exhibit A included as
                                                                         Notice
        Exhibit No. 131) (filed partially under seal)
        Excerpt of Exhibit A to the October 17, 2024 Notice (filed under October 17, 2024
   131.
        seal)                                                            Notice Exhibit A
                                                                         October 17, 2024
        Confirmation that the October 17, 2024 Notice was delivered to
   132.                                                                  Notice Delivery
        PGIC on October 21, 2024
                                                                         Confirmation
        SPARTA's December 17, 2024 Notice sent to PGIC pursuant to
                                                                         December 17,
   133. Section 8.3 of the 2007 SPA (excerpt of Exhibit A included as
                                                                         2024 Notice
        Exhibit No. 134) (filed partially under seal)
                                                                         December 17,
        Excerpt of Exhibit A to the December 17, 2024 Notice (filed
   134.                                                                  2024 Notice
        under seal)
                                                                         Exhibit A
                                                                         December 17,
        Confirmation that the December 17, 2024 Notice was delivered 2024 Notice
   135.
        to PGIC on December 19, 2024                                     Delivery
                                                                         Confirmation

              11.    SPARTA's Calculation Of Pre-Judgment Interest. Exhibit No. 136 is a

table calculating pre-judgment interest on amounts that PGIC owes SPARTA for PGIC's




                                             14
     Case 1:21-cv-11205-FDS           Document 182        Filed 01/06/25      Page 15 of 16




breaches of the 2005 T&A and the 2007 SPA, calculated from the dates that PGIC received

SPARTA's Section 8.3 Notices.

Exhibit                                Document                                     Short Cite
                                                                                Pre-Judgment
          Calculation of Pre-Judgment Interest On SPARTA's Damages
   136.                                                                         Interest
          (filed partially under seal)
                                                                                Calculation

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on January 6, 2025, in Boston, Massachusetts.


                                                    /s/ Christopher G. Clark       a
                                                   Christopher G. Clark (BBO #663455)
                                                   SKADDEN, ARPS, SLATE,
                                                       MEAGHER & FLOM LLP
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                                                   christopher.clark@skadden.com

                                                   Counsel for Plaintiff
                                                   SPARTA Insurance Company




                                                15
     Case 1:21-cv-11205-FDS          Document 182       Filed 01/06/25      Page 16 of 16




                                CERTIFICATE OF SERVICE

              I, Christopher G. Clark, hereby certify that on January 6, 2025, a true copy of the
unredacted version of the foregoing document was served by email upon all counsel of record for
Defendant Pennsylvania General Insurance Company as follows:

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Dated: January 6, 2025

                                                           /s/ Christopher G. Clark
                                                           Christopher G. Clark




                                               16
